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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION

James Fosnight, individually and on         )
behalf of all others similarly situated,    )
                                            )
       Plaintiff,                           )
                                            )
       v.                                   )      No.   1:15-cv-606
                                            )
Convergent Outsourcing, Inc., a             )
Washington corporation, and Jefferson       )
Capital Systems, LLC, a Georgia             )
limited liability company,                  )
                                            )
       Defendants.                          )      Jury Demanded

                              COMPLAINT – CLASS ACTION

       Plaintiff, James Fosnight, individually and on behalf of all others similarly

situated, brings this action under the Fair Debt Collection Practices Act, 15 U.S.C. §

1692, et seq. ("FDCPA"), for a finding that Defendants’ form debt collection letter

violated the FDCPA, and to recover damages, and alleges:

                               JURISDICTION AND VENUE

       1.      This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.      Venue is proper in this District because: a) the acts and transactions

occurred here; and, b) Plaintiff and Defendants reside here.

                                           PARTIES

       3.      Plaintiff, James Fosnight ("Fosnight"), is a citizen of the State of Indiana,

residing in the Southern District of Indiana, from whom Defendants attempted to collect

a delinquent consumer debt, which he allegedly owed for an Aspire credit card account.
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        4.    Defendant, Convergent Outsourcing, Inc. (“Convergent”), is a Washington

corporation that acts as a debt collector, as defined by § 1692a of the FDCPA, because

it regularly uses the mails and/or the telephone to collect, or attempt to collect,

delinquent consumer debts. Defendant Convergent operates a nationwide debt

collection business and attempts to collect debts from consumers in virtually every

state, including consumers in the State of Indiana. In fact, Defendant Convergent was

acting as a debt collector as to the delinquent consumer debt it attempted to collect from

Plaintiff.

        5.    Defendant, Jefferson Capital Systems, LLC (“Jefferson”), is a Georgia

limited liability company that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, directly or indirectly, delinquent consumer debts. Defendant Jefferson

operates a nationwide debt collection business and attempts to collect debts from

consumers in virtually every state, including consumers in the State of Indiana. In fact,

Defendant Jefferson was acting as a debt collector, as that term is defined in the

FDCPA, as to the delinquent consumer debt it attempted to collect from Plaintiff.

        6.    Defendant Jefferson is a bad debt buyer that buys large portfolios of

defaulted consumer debts for pennies on the dollar, which it then collects upon through

other collection agencies, like Defendant Convergent.

        7.    Defendants Convergent and Jefferson are each authorized to conduct

business in Indiana, and maintain registered agents here, see, records from the Indiana

Secretary of State, attached as Group Exhibit A. In fact, each of the Defendants

conduct business in Indiana.



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       8.     Defendants Convergent and Jefferson are each licensed as debt

collection agencies in the State of Indiana, see, records from the Indiana Secretary of

State, Securities Division, attached as Group Exhibit B. In fact, each of the Defendants

act as collection agencies in Indiana.

                                FACTUAL ALLEGATIONS

       9.     Defendants sent Mr. Fosnight an initial form collection letter, dated

December 30, 2014, demanding payment of a delinquent consumer debt owed

originally to Aspire Card. The letter stated, in pertinent part:

                                            * * *

       Unless you notify this office within 30 days after receiving this notice that
       you dispute the validity of this debt or any portion thereof, this office will
       assume this debt is valid. If you notify this office within 30 days from
       receiving this notice that you dispute the validity of this debt or any portion
       thereof, this office will obtain verification of the debt or obtain a copy of a
       judgment and mail you a copy of such judgment or verification. If you
       request this office within 30 days after receiving this notice, this office will
       provide you with the name and address of the original creditor, if different
       from the current creditor.

                                            * * *

Nowhere in Defendants’ letter did they advise Mr. Fosnight that disputes had to be in

writing, to be effective, and so that he could require Defendants to provide validation of

the debt,. A copy of this letter is attached as Exhibit C.

       10.    Defendants’ collection actions complained of herein occurred within

one year of the date of this Complaint.

       11.    Defendants’ collection communications are to be interpreted under the

“unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd. Partnership,

27 F.3d 1254, 1257 (7th Cir. 1994).



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                                          COUNT I
                                    Violation Of § 1692g
                                Ineffective Validation Notice

         12.   Plaintiff adopts and realleges ¶¶ 1-11.

         13.   Section 1692g of the FDCPA requires that, within 5 days of Defendants’

first communication to a consumer, they had to provide the consumer with an effective

validation notice, containing, among other disclosures, “(4) a statement that if the

consumer notifies the debt collector in writing within the thirty-day period that the debt,

or any portion thereof, is disputed, the debt collector will obtain verification of the debt”

see, 15 U.S.C. § 1692g(a)(4).

         14.   Nowhere in Defendants’ December 30, 2014 initial collection letter to

Plaintiff (Exhibit C) does it state that Plaintiff’s dispute to Defendants had to be in writing

to protect his right to obtain validation of the debt. Thus, Defendants have violated §

1692 g(a)(4) of the FDCPA, see, McCabe v. Crawford & Co., 272 F. Supp. 2d 736, at

742-743 (N.D. Ill. 2003); Matmanivong V. NCC, 2015 U.S. Dist. LEXIS 15054, at *[26]-

[27](N.D. Ill, Feb. 9, 2015).

         15.   Defendants’ violation of § 1692g(a)(4) of the FDCPA renders them liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                       COUNT II
                         Violation Of § 1692f Of The FDCPA --
                     Unfair Or Unconscionable Collection Actions

         16.   Plaintiff adopts and realleges ¶¶ 1-11.

         17.   Section 1692f of the FDCPA prohibits a debt collector from using any

unfair or unconscionable means to collect or attempt to collect a debt, see, 15 U.S.C. §

1692f.



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       18.    Defendants, by failing to advise Plaintiff that his dispute must be in writing

for it to be effective, used unfair or unconscionable means to collect a debt, in violation

of § 1692f of the FDCPA.

       19.    Defendants’ violation of § 1692f of the FDCPA renders them liable for

actual and statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                  CLASS ALLEGATIONS

       20.    Plaintiff, James Fosnight, brings this action individually and as a class

action on behalf of all persons similarly situated in the State of Indiana from whom

Defendants attempted to collect a delinquent consumer debt allegedly owed for an

Aspire credit card account, via the same form collection letter (Exhibit C), that

Defendants sent to Plaintiff, from one year before the date of this Complaint to the

present. This action seeks a finding that Defendants’ form letter violates the FDCPA,

and asks that the Court award damages as authorized by § 1692k(a)(2) of the FDCPA.

       21.    Defendants regularly engage in debt collection, using the same form

collection letter they sent Plaintiff Fosnight, in their attempts to collect delinquent

consumer debts from other persons.

       22.    The Class consists of more than 35 persons from whom Defendants

attempted to collect delinquent consumer debts, by sending other consumers the same

form collection letter they sent Plaintiff Fosnight.

       23.    Plaintiff Fosnight’s claims are typical of the claims of the Class. Common

questions of law or fact raised by this class action complaint affect all members of the

Class and predominate over any individual issues. Common relief is therefore sought



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on behalf of all members of the Class. This class action is superior to other available

methods for the fair and efficient adjudication of this controversy.

       24.    The prosecution of separate actions by individual members of the Class

would create a risk of inconsistent or varying adjudications with respect to the individual

members of the Class, and a risk that any adjudications with respect to individual

members of the Class would, as a practical matter, either be dispositive of the interests

of other members of the Class not party to the adjudication, or substantially impair or

impede their ability to protect their interests. Defendants have acted in a manner

applicable to the Class as a whole such that declaratory relief is warranted.

       25.    Plaintiff Fosnight will fairly and adequately protect and represent the

interests of the Class. The management of the class action proposed is not

extraordinarily difficult, and the factual and legal issues raised by this class action

complaint will not require extended contact with the members of the Class, because

Defendants’ conduct was perpetrated on all members of the Class and will be

established by common proof. Moreover, Plaintiff Fosnight has retained counsel

experienced in class action litigation, including class actions brought under the FDCPA.

                                   PRAYER FOR RELIEF

       Plaintiff, James Fosnight, individually and on behalf of all others similarly

situated, prays that this Court:

       1.     Certify this action as a class action;

       2.     Appoint Plaintiff Fosnight as Class Representative of the Class, and his

attorneys as Class Counsel;

       3.     Find that Defendants’ form collection letter violated the FDCPA;



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       4.     Enter judgment in favor of Plaintiff Fosnight and the Class, and against

Defendants, for statutory damages, costs, and reasonable attorneys’ fees as provided

by § 1692k(a) of the FDCPA; and,

       5.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, James Fosnight, individually and on behalf of all others similarly

situated, demands trial by jury.

                                                     James Fosnight, individually and on
                                                     behalf of all others similarly situated,

                                                     By:/s/ David J. Philipps___________
                                                     One of Plaintiff's Attorneys

Dated: April 15, 2015

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